Case 3:17-cv-00072-NKM-JCH Document 406-2 Filed 02/07/19 Page 1 of 2 Pageid#: 3817



                        UNITED ST A TES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

     ELIZABETH SINES, SETH WISPEL WEY,
     MARISSA BLAIR, TYLER MAGILL, APRIL
     MUNIZ, HANNAH PEARCE, MARCUS
     MARTIN, NATALIE ROMERO, CHELSEA
     ALVARADO, and JOHN DOE,


                            Plaintiffs,
     V.



    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    "AZZMADOR" RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL "ENOCH"
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                            Defendants.



                      AFFIRMATION OF MICHAEL L. BLOCH
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           I, Michael L. Bloch, affirm this 7th day of February, 2019, under the penalties of perjury

   under the laws of New York, which may include a fine or imprisonment, that the following is

   true and correct:

           1.      I am a member of the Bar of the State of New York in good standing. I have

   applied to appear pro hac vice before this Court for and on behalf of the Plaintiffs in the above-

   captioned action. I am Counsel at the law firm Kaplan Hecker & Fink LLP, one of the three law

   firms representing the Plaintiffs in this action.

          2.       I respectfully submit this Affirmation in support of Tyler Magill's Motion to

   Withdraw and Voluntarily Dismiss his claims without prejudice.

          3.       In early January 2019, we informed Mr. Magill that a conflict had arisen between

   our representation of him and our representation of the other plaintiffs, and that as a result, we

   would be seeking the Court's permission to withdraw from representing him.

          4.       We encouraged Mr. Magill to seek advice from separate counsel regarding

   whether or not he should continue as a Plaintiff in the matter with another attorney.

          5.      It is my understanding that Mr. Magill took our advice and sought the advice of

   other counsel. After doing so, he decided to voluntarily withdraw from the case and he

   authorized us to file this motion on his behalf.


    Dated: February 7, 2019
                                                           ~-
           New York, New York                              Michael L. Bloch




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